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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                        Civil Action No.: 1:24-cv-142
                                    )
      v.                            )
                                    )
DAVID J. SEEGER; COMPUTER MDz;      )
MANUFACTURERS AND TRADERS TRUST     )
COMPANY, as Custodian;              )
69 DELAWARE AVENUE ASSOCIATES, LLC; )
WORKERS’ COMPENSATION BOARD OF      )
THE STATE OF NEW YORK;              )
NEW YORK STATE DEPARTMENT OF        )
TAXATION AND FINANCE;               )
ERIE COUNTY; and CITY OF BUFFALO,   )
                                    )
                  Defendants.       )

                                          COMPLAINT

       The United States of America, with the authorization of a delegate of the Secretary of the

Treasury and at the direction of a delegate of the Attorney General, pursuant to 26 U.S.C.

§§ 7401 and 7403, brings this action to enforce federal tax liens upon certain real property in

Buffalo, New York, belonging to the judgment debtor, David J. Seeger. In support thereof, the

United States alleges as follows:

                                    JURISDICTION AND PARTIES

       1.      Jurisdiction over this action is conferred upon this Court under 28 U.S.C.

§§ 1331, 1340 and 1345 and 26 U.S.C. §§ 7402 and 7403.

       2.      David J. Seeger resides within the jurisdiction of this Court.

       3.      Computer MDz is named as a party to this action because it may claim an interest

in the property upon which the United States seeks to enforce its federal tax liens.
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        4.      Manufacturers and Traders Trust Company, as custodian, is named as a party to

this action because it may claim an interest in the property upon which the United States seeks to

enforce its federal tax liens.

        5.      69 Delaware Avenue Associates, LLC, is named as a party to this action because

it may claim an interest in the property upon which the United States seeks to enforce its federal

tax liens.

        6.      The Workers’ Compensation Board of the State of New York is named as a party

to this action because it may claim an interest in the property upon which the United States seeks

to enforce its federal tax liens.

        7.      The New York State Department of Taxation and Finance is named as a party to

this action because it may claim an interest in the property upon which the United States seeks to

enforce its federal tax liens.

        8.      The City of Buffalo is named as a party to this action because it may claim an

interest in the property upon which the United States seeks to enforce its federal tax liens.

                                    THE SUBJECT PROPERTY

        9.      The real property upon which the United States seeks to enforce its federal tax

liens is located at 17 St. Johns Place in the City of Buffalo, Erie County, New York 14201

(hereinafter the “Property”), within the jurisdiction of this Court, and is more fully described as:

                ALL THAT TRACT OR PARCEL OF LAND, located in the City of

        Buffalo, Erie County, New York, being part of Block 73 in said City beginning at

        a point in the northerly bounds of St. John’s Place 135 feet west of Wadsworth

        Street; thence westerly along said northerly line of St. John’s Place 45 feet; thence

        at right angles northerly 109.5 feet; thence at right angles easterly and parallel to

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       St. John’s Place 45 feet; thence southerly at right angles to said line of St. John’s

       Place 109.5 feet to the point or place of beginning.

                              ENFORCEMENT OF FEDERAL TAX LIENS

       10.        David J. Seeger acquired title to the Property by Referee’s Deed dated July 20,

2001, and recorded on September 27, 2001, in Book 10989 at Page 5883 in the Erie County

Clerk’s Office.

       11.        On the dates set forth in the table below a delegate of the Secretary of the

Treasury made income tax assessments against David J. Seeger for the following tax periods that

remain unpaid as follows, including statutory interest and additions through Jnauary 9, 2024:

        Tax Period            Assessment Date       Balance Due with accruals through 01/9/2024
         Ending
           12/31/2000                12/03/2001                                           $29,288.23

              12/31/2001             11/25/2002                                           $20,723.30

              12/31/2004             07/10/2006                                           $27,436.93

              12/31/2005             12/04/2006                                           $38,222.51

              12/31/2006             12/24/2007                                           $67,452.52

                                                                              TOTAL: $183,123.49


On the dates set forth in the table below a delegate of the Secretary of the Treasury made

assessments against David J. Seeger for Form 941 employer’s quarterly tax liabilities (including

amounts withheld from employees) for the following tax periods which remain unpaid as

follows, including statutory interest and additions through January 9, 2024:

     Tax Period Ending         Assessment Date             Balance Due with accruals through
                                                                     01/09/2024
              06/30/2001              07/04/2005                                         $5,072.63


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 12/31/2001        09/13/2004                              $5,899.50

 03/31/2002        07/04/2005                             $31,077.70

 06/30/2002        07/04/2005                             $31,152.57

 09/30/2002        07/04/2005                             $31,901.64

 12/31/2002        07/04/2005                             $31,524.80

 03/31/2003        09/13/2004                             $27,729.04

 06/30/2003        07/04/2005                             $30,875.76

 09/30/2003        07/04/2005                             $30,572.10

 12/31/2003        07/04/2005                             $30,292.19

 03/31/2004        07/04/2005                             $30,001.31

 06/30/2004        07/04/2005                             $29,688.57

 09/30/2004        07/04/2005                             $29,397.42

 12/31/2004        0711/2005                              $30,603.00

 03/31/2005        07/25/2005                              $2,459.91

 09/30/2005        01/092006                              $16,399.11

 12/31/2005        03/06/2006                             $14,221.33

 03/31/2007        06/25/2007                              $3,078.07

 12/31/2007        03/03/2008                              $3,777.97

  03/31/2008       04/13/2009                             $19,436.02
                   07/27/2009
 06/30/2008        04/13/2009                             $41,677.59

 09/30/2008        04/13/2009                             $41,053.47

                                                 TOTAL: $517, 891.70


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        12.      On October 9, 2006, a delegate of the Secretary of the Treasury made a penalty

assessment against David J. Seeger pursuant to 26 U.S.C. § 6721 for failure to file Forms W-2,

Wage and Tax Statements, for the tax period ending December 31, 2003, which remains unpaid

with a balance due of $20,162.07, including statutory interest and additions through January 9,

2024.

        13.      Notice of each assessment listed in paragraphs 11, 12, and 13 and demand for its

payment was properly made on David J. Seeger.

        14.      Despite notice of the assessments listed in paragraphs 11, 12, and 13 and demand

for their payment, David J. Seeger has failed, neglected, or refused to fully pay the liabilities and

there remains due and owing a total of $721,177.26, plus statutory interest and additions from

January 9, 2024.

        15.      Pursuant to 26 U.S.C. §§ 6321 and 6322, on the dates of the assessments listed in

paragraphs 11, 12, and 13, federal tax liens arose in favor of the United States upon all property

and rights to property belonging to David J. Seeger, including the Property.

        16.      On June 5, 2017, judgment was entered in United States v. David Seeger,

individually and d/b/a David Seeger Esq., case number 1:09-cv-00970-WMS-HKS in the United

States District Court for the Western District of New York, in favor of the United States and

against David Seeger in the amounts of: $133,936.15, plus statutory additions from and after

March 30, 2017 for his unpaid income tax liabilities for tax years 2000, 2001, 2004, 2005, and

2006; $377,187. 21, plus statutory additions from and after March 30, 2017 for his unpaid Form

941 employer’s quarterly tax liabilities for quarterly tax periods ending June 30, 2001, December

31, 2001 through March 31, 2005, September 30, 2005, December 31, 2005, March 31, 2007,



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December 31, 2007, March 31, 2008 through September 30, 2008; and $14,607.82, plus statutory

additions from and after March 30, 2017 for his unpaid 26 U.S.C. § 6721 penalty for tax period

ending December 31, 2003.

        17.      Abstracts of Judgment in the total amount of $525,731.18, plus statutory interest

and additions from March 30, 2017, were recorded with the Erie County Clerk’s Office on

November 29, 2007, creating a judgment lien.

        18.      Pursuant to 26 U.S.C. § 6322, the assessment liens imposed by section 6321 for

the liabilities described in paragraphs 11, 12, and 13 continue to attach to the Property because

the assessed liabilities have not been satisfied and because the period for enforcing the

assessment liens has been extended by the judgment obtained for those liabilities.

        19.      Notices of federal tax lien with respect to the tax liabilities described in

paragraphs 11, 12 and 13 were recorded with the Office of the City Register of the City of New

York as set forth in the table below:

       Tax Type         Tax Period Ending           Recording Date           Erie County Book
                                                                              Type/Book/Page
                                                 11/20/2002                Q110/9589
 Income                 12/31/2000               04/14/2011 (refile)       Q234/8096
                                                 11/18/2021 (refile)       Q340-1316
                                                 09/13/2005                Q147-7463
 Income                 12/31/2001               08/17/2012 (refile)       Q250-7355
                                                 04/21/2022 (refile)       Q343-7621
                                                 12/29/2005                Q171-4556
 Income                 12/31/2004
                                                 12/29/2015 (refile)       Q287-7584
                                                 05/04/2007                Q176-9853
 Income                 12/31/2005
                                                 08/09/2016 (refile)       Q293-7545
                                                 05/20/2008                Q194-1178
 Income                 12/31/2006
                                                 10/25/2017 (refile)       Q306-4950

                        12/31/2001               04/14/2005                Q143-8489
 941
                        03/31/2003               03/17/2014 (refile)       Q269-1159
 941                    06/30/2001               09/13/2005                Q147-8122

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                        03/31/2002              09/09/2014 (refile)       Q274-1140
                        06/30/2002
                        09/30/2002
                        12/31/2002
                        06/30/2003
                        09/30/2003              09/13/2005                Q147-8122
                        12/31/2003              09/09/2014 (refile)       Q274-1142
 941                    03/31/2004
                        06/30/2004
                        09/30/2004
                                                09/29/2005                Q148-8173
 941                    12/31/2004
                                                09/09/2014 (refile)       Q274-1144
                        03/31/2005              03/27/2006                Q157-2144
 941
                        09/30/2005              05/05/2015 (refile)       Q280-7925
                                                01/16/2007                Q172-1194
 941                    12/31/2005
                                                05/05/2015 (refile)       Q280-7927
                                                02/13/2008                Q189-6311
                        03/31/2007
 941                                            08/09/2016 (refile)       Q293-7543
                                                06/10/2008                Q194-8480
                        12/31/2007
 941                                            10/25/2017 (refile)       Q306-4952
                        03/31/2008              05/29/2005                Q209-3369
                        06/30/2008              09/10/2018 (refile)       Q315-6535
 941
                        09/30/2008
                                                01/16/2007                Q172-1194
                        12/31/2003
 6721                                           05/15/2015 (refile)       Q287-7586


        20.      The United States is entitled to enforce the federal tax liens described in

paragraphs 11, 12, and 13 against the Property pursuant to 26 U.S.C. § 7403 and to have the

entire Property sold in a judicial sale (including by a receiver if requested by the United States),

free and clear of all claims, liens, or interests of the parties, including any rights of redemption,

with the proceeds of the sale distributed: first, to pay the costs of sale, including any expenses

incurred to secure and maintain the Property; second, to the City of Buffalo, New York and Erie

County, New York, to pay any real estate taxes due and owing which are entitled to priority

under 26 U.S.C. § 6323(b)(6); third, to the United States to pay the liabilities described above,



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except to the extent that the Court determines that another party has a superior right, title, or

interest.


        WHEREFORE, the United States requests that this Court:

        (1)        determine and adjudge that the federal tax liens securing the tax liabilities

described in paragraphs 11, 12, and 13, plus statutory interest and additions, attach to the

Property and order that the federal tax liens upon the Property be enforced and that the property

be sold in a judicial sale (including by a receiver if requested by the United States), free and clear

of any right, title, lien, claim or interest of the parties herein, including any rights of redemption,

with the proceeds of the sale distributed: first, to pay the costs of the sale, including any expenses

incurred to secure and maintain the Property; second, to the City of Buffalo, New York and Erie

County, New York,; third, to the United States toward satisfaction of David J. Seeger’s tax

liabilities, except to the extent the Court determines that another party has a superior claim, lien,

or interest; and

        (2)        award the United States its costs and such further relief as the Court deems just

and proper.


                                                          DAVID A. HUBBERT
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                                                          /s/ Thelma A. Lizama____________
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